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ATTACHMENT B

Particular things to be seized

All records on the SUBJECT DEVICES described in Attachment A that relate to violations
of 21 U.S.C. §§ 841, 843, and 846 and involve Nathaniel JOHNSON as well as other unknown

persons, including, but not limited to:

a. Evidence indicating how and when the SUBJECT. DEVICES and associated
cellular service was used, in order to determine the context of device use, account
access, and events related to the crime under investigation;

b. Evidence of user attribution showing who used or owned the SUBJECT DEVICES
at the time the things described in this warrant were created, edited, deleted, or used
such as logs, phonebooks, users names, passwords, documents and browsing
history;

C. Evidence indicating the geographic location of the SUBJECT DEVICES from June
2021 to August 22, 2024;

d. Evidence related to obtaining, possessing, distributing, or using controlled
substances from June 2021 to August 22, 2024, including, but not limited to:

i. _ lists of customers and related identifying information;
ii. types, amounts, and prices of drugs trafficked as well as dates, places,
and amounts of specific transactions;
iii. any information related to sources of drugs (including names, addresses,
phone numbers, or any other identifying information);

iv. any information recording Nathaniel JOHNSON’s schedule or travel;

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vy. all bank records, checks, credit card bills, account information, and
other financial records.

vi. Stored communications, videos, or photos relating to obtaining,
possessing, distributing, or using controlled substances

€. Evidence from June 2021 to August 22, 2024 related to obtaining, possessing, sale
of, or use of firearms or firearms related material, to include ammunition.

f. Information from June 2021 to August 22, 2024 the present suggesting the
existence of evidence related to the crimes under investigation on other devices or
other forms of electronic storage such as social media accounts, cloud-based
storage, or other mobile devices.

As used above, the terms “records” and “information” include all of the foregoing items of

evidence in whatever form and by whatever means they may have been created or stored, including
any form of computer or electronic storage (such as flash memory or other media that can store

data) and any photographic form.

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